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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                                2/3/2022
FRHUEB, INC.

                                                Plaintiff,                         21-CV-7395 (RA) (KHP)

                             -against-                                                    ORDER

THIAGO SABINO DE FREITAS ABDALA
and PRISCILA PATTO,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         As discussed during today’s Case Management Conference, the Court orders the

following:

    •    Defendants shall provide a copy of their proposed amended pleading to Plaintiff by

         February 10, 2022. By February 17, 2022, the parties shall file a joint letter indicating

         whether Plaintiff consents to the filing of the amended pleading, and if Plaintiff opposes,

         the parties shall propose a briefing schedule for the Court’s consideration.

    •    The parties shall complete fact discovery by August 31, 2022.

    •    The parties shall file a joint status letter by March 7, 2022. The parties are reminded

         that they must meet and confer in good faith to resolve any issues prior to raising them

         with the court and follow the Court’s rules when requesting court intervention.

                   SO ORDERED.

DATED:             New York, New York
                   February 3, 2022

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
